             Case 1:09-cr-00317-LJO Document 157 Filed 04/10/12 Page 1 of 3



 1   ROBERT L. FORKNER (CSB# 166097)
     Law Offices of Robert L. Forkner
 2   722 Thirteenth Street
 3
     Modesto, CA 95354
     Telephone:     (209)544-0200
 4   Fax:           (209)544-1860
 5   Attorney for Defendant
     MIGUEL S. FELIX
 6

 7

 8                       IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,            ) No. 1:09-CR-00317-AWI
                                          )
12
            Plaintiff,                    )
                                          ) STIPULATION AND ORDER FOR
13                                        ) CONTINUANCE OF SENTENCING
     v.                                   )
14                                        )
     MIGUEL S. FELIX,                     )
15                                        )
                                          )
16          Defendants.                   )
                                          )
17                                        )
                                          )
18                                        )
19

20          Defendant, MIGUEL S. FELIX, through his attorney ROBERT L.
21
     FORKNER, together with the United States of America through its
22
     undersigned counsel, KATHLEEN A. SERVATIUS, Assistant United
23
     States Attorney, hereby stipulate and request the following:
24
            1.   That the Court continue the sentencing in the above-
25
     captioned case from June 4, 2012, to July 30, 2012, at 10:00
26
     a.m.
27

28

                                  STIPULATION AND ORDER

                                          - 1 -
              Case 1:09-cr-00317-LJO Document 157 Filed 04/10/12 Page 2 of 3



 1       2.       As of this date, the probation officer has not
 2   interviewed Mr. Felix.       The Judgment and Sentencing must be
 3   scheduled 11 weeks after the defendant has been interviewed.
 4   The Probation Officer must adhere to that schedule.             As such,
 5   defense counsel requests the continuance in order to permit the
 6   preparation of the Pre Sentencing Report; to allow a complete
 7   review of the Report from Probation with the defendant, and to
 8   file the necessary objections before the currently scheduled
 9   date.
10           For these reasons, the parties stipulate and request that
11   the Court exclude time within which the trial must commence
12   under the Speedy Trial Act from June 4, 2012 through July 30,
13   2012, for defense preparation under 18 U.S.C.
14   § 3161(h)(8)(B)(ii) and (iv).
15   IT IS SO STIPULATED.
16

17   Dated:     April 9, 2012                      /s/ Robert L. Forkner
                                                   ROBERT L. FORKNER
18
                                                   Attorney for Defendant
19                                                 MIGUEL S. FELIX

20   Dated: April 9, 2012                          BENJAMIN B. WAGNER
                                                   United States Attorney
21

22
                                                   by: /s/ Kathleen A. Servatius
23                                                 KATHLEEN A. SERVATIUS
                                                   Assistant U.S. Attorney
24

25

26

27

28

                                   STIPULATION AND ORDER

                                           - 2 -
                           Case 1:09-cr-00317-LJO Document 157 Filed 04/10/12 Page 3 of 3



 1                                                    ORDER
 2

 3

 4

 5   IT IS SO ORDERED.
 6
     Dated: April 9, 2012
 7
     DEAC_Signature-END:
                                                 CHIEF UNITED STATES DISTRICT JUDGE
 8   0m8i788

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                STIPULATION AND ORDER

                                                        - 3 -
